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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION
                                        www.flmb.uscourts.gov

In re:                                                                     Case No: 20-00600-CJJ

Michael Jamal Coker

                                Debtor(s)./

                 TRUSTEE'S APPLICATION FOR ORDER AUTHORIZING
         TRUSTEE TO EMPLOY NAJI HASSAN AS REAL ESTATE AGENT FOR ESTATE

        The Trustee, Doreen Abbott, applies for an Order Authorizing the Trustee to employ Naji Hassan
of 7 Star Realty as Real Estate Agent for this Estate and would show:

    1. The Estate owns multiple real properties located at the following addresses:
                a. 3487 SW 10th Terrace, Ocala, FL 34471
                b. 4836 D Street, Philadelphia, PA 19120 (Duplex)
                c. 1201 NE 33rd Street, Ocala, FL 34479

    2. The Trustee desires to employ the Real Estate Agent to represent and assist the Trustee in selling
       the real property. The Real Estate Agent will list the property for sale, solicit bids, negotiate with
       lenders and potential buyers, and consummate a sale.

    3. After reviewing the facts and issues in this case, the Trustee has concluded that the assistance of a
       Real Estate Agent is necessary to enable the Trustee to discharge the Trustee's statutory duties. The
       Trustee has selected this Real Estate Agent because it has the ability and experience to render the
       necessary assistance, and is familiar with the real estate market in area where the real property is
       located.

    4. The Real Estate Agent has agreed to charge his customary fee of eight percent (8%) of the gross
       sale price of each Property if more than $50,000 and a flat fee of $3,000 if the gross sale price of
       each Property is less than $50,000, payment of which will be made closing, subject to the approval
       of the court pursuant to 11 U.S.C. §330 and is not guaranteed.

    5. To the best of the Trustee's knowledge, the Real Estate Agent has no connection with the debtors,
       creditors, any other party in interest, their respective attorneys and accountants, the United States
       Trustee, or any person employed in the office of the United States Trustee and is thus disinterested
       within the meaning of 11 U.S.C. §101(14).

         Dated: June 16, 2020

        I HEREBY CERTIFY that a copy of the foregoing was furnished to the following, via U.S. Mail,
postage prepaid or via electronic delivery via CM/ECF if the recipient is an authorized CM/ECF user, on
June 16, 2020:

Naji Hassan, of 7 Star Realty, 9951 Atlantic Boulevard, Suite 130, Jacksonville, FL 32225
Office of United States Trustee
                                                         /s/ Doreen Abbott
                                                         Post Office Box 56257
                                                         Jacksonville, FL 32241-6257
                                                         (904) 886-9459
                                                         Trustee
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